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                       UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

IN RE:                                              Case No.: 20-03841
                                                    Chapter: 13
            Ruby J. Adams                           Plan filed on 02/11/2020
                                                    Confirmation Hearing: 3/30/20

                                        Debtor(s)   Judge David D. Cleary


              OBJECTION TO CONFIRMATION OF PLAN FILED ON 02/11/2020



        NOW COMES PHH MORTGAGE CORPORATION, and/or its assigns (hereinafter
“Movant”), by and through its attorneys, Codilis & Associates, P.C., and moves this Honorable
Court for an Order denying confirmation of Debtor’s plan filed on 02/11/2020 and in support
thereof states as follows:


        1.       Debtor filed a petition under Chapter 13 of Title 11, United States Bankruptcy
Code on 2/11/2020 and this Court has jurisdiction pursuant to 28 U.S.C. §1334 and Internal
Operating Procedure 15(a) of the United States District Court for the Northern District of
Illinois;


        2.       Movant filed a claim secured by an interest in the real property commonly known
as 121 East 87th Street, Chicago, IL and that the Chapter 13 plan herein proposes that Debtor
cure the pre-petition arrearage claim through the Chapter 13 Trustee while maintaining current,
post-petition mortgage payments;


        3.       That although Movant has filed a proof of claim indicating a pre-petition
arrearage in the amount of $9,151.46, the proposed plan provides for payment of only $7,500.00;


        4.       That assuming Debtor makes all Chapter 13 plan payments in a timely fashion,
the plan would have to be administered for approximately 62 months in order to pay Movant’s
actual pre-petition arrearage in full and said cure is unreasonable and fails to adequately protect
Movant’s interest;
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         5.        That sufficient grounds exist for denial of confirmation as Debtor’s plan:
                   a.        Fails to cure Movant’s pre-petition arrearage claim within a
                   reasonable time due to incorrect arrears listed;


         6.        Movant has incurred attorney fees and/or costs in connection with this bankruptcy
proceeding subject to court approval, including:


                             $550.00 for Objection to confirmation of the Chapter 13 plan
                             including plan review and attending confirmation, if not separately
                             billed


         WHEREFORE, PHH MORTGAGE CORPORATION prays this Court deny
confirmation of the plan allowing the fees and costs described herein to be added to the
indebtedness pursuant to the terms of the note and mortgage, and for such other and further relief
as this Court may deem just and proper.
         Dated this 3/17/2020.
                                                             Respectfully Submitted,
                                                             Codilis & Associates, P.C.


                                                             By: /s/ Karl Meyer

                                                             Berton J. Maley ARDC#6209399
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NOTE: This law firm is a debt collector.
